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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION


DANIEL WILLIAM RUDD,                                      HON. GORDON J. QUIST
                                                          U.S. District Judge
              Plaintiff,
v                                                         Case No. 1:18-cv-124

THE CITY OF NORTON SHORES, et al.

                                                          MOTION FOR ORDER ALLOWING
                                                          BOLHOUSE, HOFSTEE, & MCLEAN
                                                          PC TO WITHDRAW AS ATTORNEYS
                                                          OF RECORD FOR DEFENDANT
                                                          MELISSA MEYERS

                   .
_______________________________________________________________________
Daniel W. Rudd                                      Michelle M. McLean (P71393)
Plaintiff, In Pro Per                               Bolhouse, Hofstee, & McLean PC
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AMENDED MOTION AND ORDER ALLOWING BOLHOUSE, HOFSTEE, & MCLEAN PC TO
   WITHDRAW AS ATTORNEY OF RECORD FOR DEFENDANT MELISSA MEYERS

       NOW COMES Bolhouse, Hofstee, & McLean PC (“Bolhouse”) and does hereby motion
this Honorable Court to withdraw as attorney of record for Defendant Melissa Meyers (“Meyers”)
and states in support:
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       1.      That Bolhouse is not able to continue to represent Meyers due to a breakdown of
the attorney-client relationship and therefore Bolhouse must withdraw from continued
representation of Meyers.

       2.       That Bolhouse has provided notice of this Motion on Meyers via email and via
U.S.P.S first class mail pursuant to the Proof of Service filed in this matter.

         3.    That all other parties to this matter have been provided notice via the electronic
filing system.

       4.     That a copy of the proposed order is attached as Exhibit A.


                                            Respectfully submitted,

Dated: April 19, 2018                       Bolhouse, Baar & Hofstee, P.C.


                                            By: /s/ Michelle M. McLean
                                                    Michelle M. McLean (P71393)
                                                    Richard L. Bolhouse (P29357)

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                                            Baar, and Bolhouse, Hofstee, & McLean PC
